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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DTVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 5:20-CR-025-01-H

ABUNDIO BARBOZA, JR. (1),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TIIE UMTED STATES MAGISTRATE JUDGE
                            CONCERIYING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

0   636OXl), the undersigrred District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated Septemb
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                              1{   zozo.



                                                     WESLEY HENDRIX
                                             UN      D STATES DISTRICT JUDGE
